      Case 5:22-cv-02637-EJD Document 211-1 Filed 07/10/23 Page 1 of 2



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 8                               UNITED STATES DISTRICT COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA

10                                       SAN JOSE DIVISION

11   APPLE INC., a California corporation,            Case No.   5:22-cv-02637-EJD-NC
12                        Plaintiff,
13          v.                                        [PROPOSED] ORDER
                                                      REGARDING DISCOVERY
14   RIVOS, INC., a Delaware corporation; WEN         HEARING
     SHIH-CHIEH a/k/a RICKY WEN; JIM
15   HARDAGE; WEIDONG YE; LAURENT
     PINOT; PRABHU RAJAMANI; and KAI
16   WANG,
17                        Defendants.
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     [PROPOSED] ORDER REGARDING DISCOVERY HEARING
     CASE NO. 5:22-cv-02637-EJD-NC
      Case 5:22-cv-02637-EJD Document 211-1 Filed 07/10/23 Page 2 of 2



 1            The discovery hearing, currently set for July 12, 2023, at 11:00 AM in person, is

 2   postponed to July 26, 2023, at 11:00 AM in person. In the event the Parties cannot come to an

 3   agreement regarding outstanding discovery issues, the Parties shall brief the remaining disputes in

 4   a joint update (no longer than 10 pages) by July 24, 2023, at noon.

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 6            SO ORDERED.

 7   Dated:

 8                                                      Honorable Nathanael M. Cousins
                                                        United States Magistrate Judge
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     [PROPOSED] ORDER REGARDING DISCOVERY HEARING
     CASE NO. 5: 22-cv-02637-EJD-NC                                                                   1
